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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW MEXICO

UNITED STATES OF AMERICA                            §
                                                    §
          Plaintiff,                                §
                                                    §                  15-CR-1515-RB
v.                                                  §
                                                    §
BERNICE HOLGUIN MIRANDA                             §
Defendant.                                          §

                                NOTICE OF UNAVAILABILITY

TO THE HONORABLE JUDGE OF SAID COURT:

       COMES NOW, Cori A. Harbour-Valdez, court-appointed counsel for Defendant, and files

her Notice of Unavailability.

       Counsel will be out of town on the following dates and unavailable for hearings:

       October 4-5, 2018

       October 11-12, 2018

       October 22-29, 2018

       November 8-12, 2018

       November 15-16, 2018

       December 21, 2018

       Counsel respectfully requests that no matters be set during these time periods.

                                                        Respectfully submitted,

                                                        THE HARBOUR LAW FIRM, P.C.
                                                        P.O. Box 13268
                                                        El Paso, Texas 79913
                                                        Telephone: 915.544.7600
                                                        Facsimile: 915.975.8036
                                                        Email: cori@harbourlaw.net

                                              By:       S/Cori A. Harbour-Valdez
                                                        Cori A. Harbour-Valdez


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                               CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on this 1st day of October, 2018, I electronically
transmitted the attached document to the Clerk’s office using the CM/ECF system for filing and
service to all CM/ECF registrants.

                                                   S/Cori A. Harbour-Valdez
                                                   Cori A. Harbour-Valdez




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